Case 2:03-cr-20475-.]DB Document 9 Filed 05/02/05 Page 1 of 2 Page|D 8

rN THE UNITED STATES DIsrchT CoURr :§.,» - %1€1/
FoR THE WESTERN DISTRICT oF TENNESSEE
EASTERN DrvrsroN §i§§'§ m&y? §`§§ EE:

 

 

UNITED STATES OF AMERICA

V.

WILLIAM VISOR 03cr20475-B

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on rm a/Vl 12 3 ida §the United States Attorney
for this district appeared on behalf of the government, gm the defendant appeared in person and With
counsel:

NAME P‘j€ .B/l “/\/""--* (/;"JD > who is Retained/Appointed.

The defendant, through coun sel, Waivecl formal arraignment and entered a plea of not guilty.

 

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.
2 The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the Custody
Of the U.S. Marshal.

draw /z. %OMV

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES -18:922g
firearms

Attorney assigned to Case: K. Earley

Age: 2 (/

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with nine 55 ana/or sz(b) FRch on “ '

…TEslle COURT - WESTRNE D's'TRCT oFTENNEssEE

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This notice confirms a copy of the document docketed as number 9 in
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PDA

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Honorable .l. Breen
US DISTRICT COURT

